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IN THE UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

In re:
Chapter 11
WINN-DIXIE STORES, INC., et al.,
Case No. 05—-03817-3F1

Debtors. Jointly Administered

—
eee ee

MOBLEY FAMILY PARTNERSHIP, LP AND REDD FAMILY II, LP d/b/a BLUE
ANGEL CROSSING’S (STORE 535) RESPONSE TO DEBTORS’ TWENTY-SIXTH
OMNIBUS OBJECTION TO CLAIMS ARISING FROM UNEXPIRED LEASES OF
NON-RESIDENTIAL REAL PROPERTY (I) THAT HAVE BEEN ASSUMED, (II)
THAT HAVE BEEN ASSUMED AND ASSIGNED OR (III) THAT ARE THE
SUBJECT OF LEASE TERMINATION AGREEMENTS (DOCKET NO. 12281)

COME NOW Landlord/Creditor Mobley Family Partnership, LP and Redd
Family II, LP d/b/a Blue Angel Crossing (Store 535) (hereinafter
referred to as “Blue Angel”) and object to Debtors’ Twenty-Sixth
Omnibus Objection to Claims Arising From Unexpired Leases of Non-
Residential Real Property (I) That Have Been Assumed, (II) That Have
Been Assumed and Assigned or (III) That are the Subject of Lease
Termination Agreements (Docket No. 12281) by showing this court as
follows:

1.

Blue Angel is the landlord for that certain Winn Dixie store,
designated Store 535, in which the Debtor is Winn-Dixie Montgomery,
Inc. bankruptcy case no. 05-BK-03837-3F1.

2.

The administrative cure amount scheduled by the Debtor for Blue

Angel, Creditor No. 1128, is Claim No. 13391 for $3,394.12.
3.

The actual cure amount for Store 535 as confirmed by e-mails of
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August 21, 2006 from Winn Dixie and Smith Hulsey is as follows:

Description Dollar Amount
2005 property taxes $ 4,055.79
2005 CAM adjustment 674.87
Total $4,730.66
4,

A true and correct copy of the e-mails labeled Exhibit “A” is
attached hereto and incorporated herein by reference.
a
By order dated August 23, 2005, counsel was admitted pro hac vice
to represent this Landlord/Creditor in this case.
This if’? aay of November, 2006.

EPSTEIN BECKER & GREEN,P.C.
Attorneys for Landlords

s/Annette Kerlin McBrayer
Annette Kerlin McBrayer
Georgia Bar No. 415782

Epstein Becker & Green, P.C.
Suite 2700

945 East Paces Ferry Road
Atlanta, Georgia 30326
(404) 923-9000

AT:520164v1
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Annette McBrayer

From: Allan E. Wulbern [awulbern@smithhulsey.com]
Sent: Monday, August 21, 2006 4:14 PM

To: Annette McBrayer

Cc: Kimberly Neil; Bryan Gaston

Subject: FW: Stores 470, 535, and 579 cures

Annette,

Below are the revised prepetition cure amounts for these stores. According to the below email from Kim Neil at
Winn Dixie, the post petition amounts have been paid. Please let me know if this resolves the cure issues for
these stores.

Allan

From: Kimberly Neil [mailto:KimberlyNeil@winn-dixie.com]
Sent: Monday, August 21, 2006 4:08 PM

To: Allan E. Wulbern; Bryan Gaston

Subject: RE: Stores 470, 535, and 579 cures

Amend pre-pet cures as follows:

Store 470: OSRET 10,713.25

O5CAM 790.89
Remaining balance they assert has been paid today
Total: 11,504.14

Store 535: O5RET 4,055.79

O5CAM 674.87
Remaining balances they assert have been paid
Total: 4,730.66

Store 579: 0O4CAM 7,582.83

OSRET 12,997.15

O5CAM 1,786.39
Remaining balances they assert have been paid
total: 22,366.37

some of our payments were just completed today and will be in the mail.

From: Allan E. Wulbern [mailto:awulbern@smithhulsey.com]

Sent: Monday, August 21, 2006 3:41 PM

To: Kimberly Neil; Bryan Gaston

Subject: FW: Stores 470, 535, and 579

Kim,

Apparently the chart | just sent you has been revised to update some dates.

Allan

Exhibit "A"

11/8/2006
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From: Cynthia C. Jackson

Sent: Monday, August 21, 2006 3:36 PM
To: Allan E. Wulbern

Subject: FW: Stores 470, 535, and 579

From: Annette McBrayer [mailto:AMcbrayer@ebglaw.com]

Sent: Monday, August 21, 2006 3:34 PM

To: djbaker@skadden.com; Cynthia C. Jackson; Leamy, Jane; James H. Post
Subject: Stores 470, 535, and 579

Revised to update the dates in the header.

The insurance for 535 has now been paid. | also transferred the March 2005 CAM estimate for store 579 to the
post-petition column.

| know you all are terribly busy these days, but if you could agree to these numbers, then we could wrap these
three up. We need to agree on the pre-petition claim amounts, and the assumption amounts for the leases.

Sincerely,
Epstein Becker & Green, P.C.

Annette Kerlin McBrayer

945 East Paces Ferry Road, NE
Suite 2700 Resurgens Plaza
Atlanta, GA 30326

Phone: (404) 923-9045 (direct)
Fax: (404) 923-9099

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11/8/2006
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IN THE UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
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In re:
Chapter 11

Case No. 05—-03817-3F1

)
)
WINN-DIXIE STORES, INC., et al., )
)
) Jointly Administered

Debtors.
)

CERTIFICATE OF SERVICE

This is to certify that I have this day served counsel for the
opposing party in the foregoing action with a copy of the within and
foregoing MOBLEY FAMILY PARTNERSHIP, LP AND REDD FAMILY II, LP d/b/a
BLUE ANGEL CROSSING’S (STORE 535) RESPONSE TO DEBTORS’ TWENTY-SIXTH
OMNIBUS OBJECTION TO CLAIMS ARISING FROM UNEXPIRED LEASES OF NON-
RESIDENTIAL REAL PROPERTY (I) THAT HAVE BEEN ASSUMED, (II) THAT HAVE
BEEN ASSUMED AND ASSIGNED OR (III) THAT ARE THE SUBJECT OF LEASE
TERMINATION AGREEMENTS by sending a true and correct copy by e-mail as
follows:

Cynthia C. Jackson, Esq.

Smith Hulsey & Busey

Suite 1800

225 Water Street

Jacksonville, Florida 32202
cjackson@smithhulsey.com

MY day of November, 2006.

s/Annette Kerlin McBrayer
Annette Kerlin McBrayer

Epstein Becker & Green, P.C.
Suite 2700

945 East Paces Ferry Road
Atlanta, GA 30326

(404) 923-9000

AT:520164v1
